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EXHIBIT B
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                                                        U.S. Department of Justice

                                                        Criminal Division



Fraud Section           Justin Weitz                    1400 New York Ave., N.W.
                        Acting Principal Asst. Chief    Bond Building, 3rd Floor
                        Justin.weitz@usdoj.gov          Washington, D.C. 20530


                                                        June 13, 2021

Via E-mail
Walter P. Loughlin, Esq.
340 West 57th Street
Suite 5D
New York, NY 10019
Counsel for Defendant Keith Berman


         Re:    United States v. Keith Berman, No. 1:20-CR-00278-TNM

Dear Counsel:

       We are writing in response to your letter dated June 7, 2021, regarding the government’s
ongoing investigation in this matter. The government respectfully declines your request to explain
the motivations for steps taken during a grand jury investigation.

       The prosecution team is mindful of its obligations regarding potentially privileged
communications obtained in the course of a criminal investigation. For this reason, the
government has maintained a filter review process as part of this investigation, and it is my
understanding that the Fraud Section’s Special Matters Unit has been in contact with you regarding
any potentially privileged materials.

         Please feel free to contact us if there are additional matters you wish to discuss.


                                                        Sincerely,

                                                        /s/
                                                        Christopher Fenton, Trial Attorney
                                                        Justin Weitz, Acting Principal Asst. Chief
                                                        U.S. Dept. of Justice, Fraud Section


cc: Ronald Herzog, Esq.
